
Per Curiam.
We affirm the amended order transferring Appellant's petition for writ of habeas corpus to the circuit in which Appellant was convicted and sentenced. See Torres v. State , 208 So.3d 831, 831 (Fla. 1st DCA 2017) (affirming the order transferring a habeas petition because the appellant challenged the sufficiency of the charging instrument therein); Baker v. State , 164 So.3d 38, 39 (Fla. 3d DCA 2015) ("[T]he court of conviction, has jurisdiction over Baker's habeas petition because the petition challenges the sufficiency of the charging document which amounts to a collateral attack on Baker's 1996 conviction.").
AFFIRMED .
Wolf, Lewis, and Wetherell, JJ., concur.
